                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

  UNITED STATES OF AMERICA                       )
                                                 )        Case No. 4:20-cr-1
  v.                                             )
                                                 )        Judge Travis R. McDonough
  JUSTIN MCCART                                  )
                                                 )        Magistrate Judge Christopher H. Steger
                                                 )


                                              ORDER



          United States. Magistrate Judge Christopher H. Steger filed a report and recommendation

 [Doc. 25] recommending that the Court: (1) grant Defendant’s motion to withdraw his not guilty

 plea to Count One of the two count Indictment; (2) accept Defendant’s guilty plea to Count One

 of the two count Indictment; (3) adjudicate Defendant guilty of possession of an unregistered

 destructive device in violation of 26 U.S.C. §§ 5841, 5861(d) and 5871; and (4) order that

 Defendant remain in custody pending sentencing or further order of this Court.

          After reviewing the record, the Court agrees with Magistrate Judge Steger’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation [Doc. 25] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as

 follows:

       1. Defendant’s motion to withdraw his not guilty plea to Count One of the two count

          Indictment is GRANTED;

       2. Defendant’s plea of guilty to Count One of the two count Indictment is ACCEPTED;

       3. Defendant is hereby ADJUDGED guilty of possession of an unregistered destructive

          device in violation of 26 U.S.C. §§ 5841, 5861(d) and 5871; and



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    4. Defendant SHALL REMAIN in custody pending further order of this Court or sentencing

       in this matter which is scheduled to take place before the undersigned on January 15,

       2021, at 9:00 a.m.

    SO ORDERED.


                                          /s/Travis R. McDonough
                                          TRAVIS R. MCDONOUGH
                                          UNITED STATES DISTRICT JUDGE




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